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                       THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               OXFORD DIVISION

RODNEY JONES, et al.                        PLAINTIFFS

       v.                                   CIVIL ACTION NO. 3:20CV00308-MPM-RP

THE RAYMOND CORPORATION                     DEFENDANT


                 DEFENDANT THE RAYMOND CORPORATION’S
            MOTION TO STRIKE TESTIMONY OF JOHN MEYER, Ph.D., P.E.


       COMES NOW THE DEFENDANT, The Raymond Corporation (“Raymond”), by and

through counsel, and submits this, its Motion to Strike Testimony of John Meyer, Ph.D., P.E. In

support thereof, Raymond relies upon and adopts by reference as if set forth fully herein Defendant

The Raymond Corporation’s Brief in Support of its Motion to Strike Testimony of John Meyer,

Ph.D., P.E., as well as the following exhibits attached hereto:

       1.      Exhibit A – Judgment entered November 10, 2021, in Anderson, et al. v. Raymond,
               United States District Court for the Southern District of Illinois Case No. 19-CV-
               800;

       2.      Exhibit B – Verdict Form filed November 10, 2021, in Anderson;

       3.      Exhibit C – C.V. of John E. Meyer, Ph.D., P.E.;

       4.      Exhibit D – Excerpts from the Deposition Transcript of John E. Meyer, Ph.D., P.E.,
               taken December 9, 2021;

       5.      Exhibit E – Excerpts from the Deposition Transcript of John E. Meyer, Ph.D., P.E.,
               taken November 20, 2020, in Anderson;

       6.      Exhibit F – Report of John E. Meyer, Ph.D., P.E. dated October 4, 2021;

       7.      Exhibit G – Order & Reasons entered January 20, 2022, in Vallee v. Crown
               Equipment Corp. of Ohio, United States District Court for the Eastern District of
               Louisiana Case No. 20-CV-1571;

       8.      Exhibit H – Excerpts from the Deposition Transcript of Jason Kerrigan, Ph.D.,
               taken December 8, 2021;


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       9.      Exhibit I – Order entered July 27, 2021, in Anderson;

       10.     Exhibit J – Excerpts from the Deposition Transcript of Rodney Jones taken June
               16, 2021; and

       11.     Exhibit K – Court’s Ruling dated January 21, 2020, in Petersen v. Raymond,
               United States District Court for the District of Utah Central Division Case No. 14-
               CV-00894.

       WHEREFORE, PREMISES CONSIDERED, Raymond respectfully requests the Court

grant its Motion to Strike Testimony of John Meyer, Ph.D., P.E., and that such other relief to which

it may be entitled in these premises be granted.

       Respectfully submitted, this the 4th day of March, 2022.

                                              THE RAYMOND CORPORATION
                                              By and through its attorneys,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 4, 2022, I electronically filed the foregoing with the Clerk
of the Court using the ECF system which sent notification of such filing to the follow to the
following:

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       Dated this the 4th day of March, 2022.

                                             s/ Francis H. LoCoco


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